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   8
                                 UNITED STATES DISTRICT COURT
   9
                    CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  10

  11 Amazon Content Services, LLC;               Case No. 2:18-CV-03325-MWF (AS)
       Columbia Pictures Industries, Inc.;
  12   Disney Enterprises, Inc.; Netflix         PLAINTIFFS’ STATUS REPORT
       Studios, LLC; Paramount Pictures          AND REQUEST FOR BRIEFING
  13   Corporation; Sony Pictures Television     SCHEDULE AND GUIDANCE RE
       Inc.; Twentieth Century Fox Film          NOTICE PROCEDURE FOR
  14   Corporation; Universal City Studios       MOTION FOR DEFAULT
       Productions LLLP; Universal Cable         JUDGMENT
  15   Productions LLC; Universal Television
       LLC; Warner Bros. Entertainment Inc.,     Judge: Hon. Michael W. Fitzgerald
  16
                       Plaintiffs,
  17
                vs.
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       Set Broadcast, LLC d/b/a Setvnow;
  19 Jason Labossiere; Nelson Johnson,

  20                   Defendants.
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       42513977.1
                                             PLAINTIFFS’ STATUS REPORT AND [PROPOSED] ORDER
                                                                CASE NO. 2:18-CV-03325-MWF (AS)
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   1        Plaintiffs respectfully submit this status report and request for briefing
   2 schedule and guidance regarding Plaintiffs’ motion for default judgment against the

   3 remaining defendants, Jason Labossiere and Nelson Johnson (“Defendants”).

   4        Defendants have refused to participate in this litigation. Since their counsel
   5 withdrew, Defendants have rebuffed Plaintiffs’ efforts to schedule depositions or

   6 move this case toward resolution. After Plaintiffs moved for default judgment

   7 against co-defendant Set Broadcast, LLC, a Florida attorney named Lee Pearlman

   8 and an individual named Richard Rago contacted Plaintiffs’ counsel, claiming they

   9 were assisting Labossiere and Johnson, respectively, with settlement efforts.

  10 However, these representatives, like Labossiere and Johnson, have stopped

  11 responding to Plaintiffs’ counsel.

  12        Plaintiffs want to bring this litigation to a close as soon as possible. They
  13 intend to do so with a motion for default judgment that is analogous to the one they

  14 filed against Set Broadcast. Defendants (while represented by counsel) filed an

  15 answer, ECF Dkt. 18. Under these circumstances, authority indicates that the Clerk

  16 of the Court will not enter default without a Court Order. See, e.g., Wofford v.

  17 Bracks, 2015 WL 10793981, at *1 (Aug. 13, 2015 C.D. Cal.) (“[T]he Court Clerk

  18 notified plaintiff it could not enter the requested default because answers were on

  19 file.”). The entry of default is a prerequisite to a motion for default judgment. Fed.

  20 R. Civ. P. 55(b); Civ. L.R. 55-1(a).

  21        Plaintiffs respectfully request the Court’s guidance, through the form of an
  22 order, on the following:

  23        1.     Plaintiffs ask the Court to order the Clerk to enter default. Defendants’
  24 post-answer refusal to participate in this litigation provides grounds for proceeding

  25 with a default. See, e.g., Sweet People Apparel, Inc. v. Chang Grp. LLC, 2017 WL

  26 2469130, at *6 (C.D. Cal. June 6, 2017) (“After the Court struck [the individual]

  27 Defendant’s Answer for its failure to timely obtain counsel, the Clerk entered

  28 default against Defendant, Defendant has failed to appear in its own defense, and the
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                                              PLAINTIFFS’ STATUS REPORT AND [PROPOSED] ORDER
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   1 Court thus accepts the material facts in the FAC as true.”); Warner Bros. Entm’t Inc.

   2 v. Vega, 2012 WL 13008442, at *3 (C.D. Cal. Mar. 29, 2012) (striking pro se

   3 defendant’s answer for failure to appear at a scheduling conference and subsequent

   4 failure to participate in litigation).

   5         2.     The Court has continued the trial date (while vacating pretrial dates) to
   6 September 10, 2019.1 Plaintiffs request that the Court vacate the trial date and set a

   7 date for Plaintiffs’ motion for default judgment (14 days after the Clerk enters

   8 default).

   9         Plaintiffs have prepared a [Proposed] Order on these requests. Plaintiffs are
  10 serving copies of this Status Report and the [Proposed] Order on Defendants

  11 through Defendants’ addresses on file.

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  15 DATED: September 4, 2019                 MUNGER, TOLLES & OLSON LLP
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  18                                          By:        /s/ Kelly M. Klaus
                                                  KELLY M. KLAUS
  19                                          Attorneys for Plaintiffs
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  27   In February, Plaintiffs moved to compel the depositions of Labossiere and
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     Johnson. Magistrate Judge Sagar has deemed that motion moot in light of the
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     discovery cut-off.
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                                                PLAINTIFFS’ STATUS REPORT AND [PROPOSED] ORDER
                                                                   CASE NO. 2:18-CV-03325-MWF (AS)
